                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      WINSTON-SALEM DIVISION


 FEDERAL TRADE COMMISSION,
 STATE OF CALIFORNIA, STATE OF
 COLORADO, STATE OF ILLINOIS,
 STATE OF INDIANA, STATE OF
 IOWA, STATE OF MINNESOTA,
 STATE OF NEBRASKA, STATE OF
 OREGON, STATE OF TENNESSEE,
 STATE OF TEXAS, STATE OF
 WASHINGTON, and STATE OF      Case No. 1:22-cv-00828-TDS-JEP
 WISCONSIN,

                           Plaintiffs,
                            v.

 Syngenta CROP PROTECTION AG,
 SYNGENTA CORPORATION,
 Syngenta Crop Protection, LLC, and
 Corteva, Inc.,

                         Defendants.



IN RE CROP PROTECTION
PRODUCTS LOYALTY PROGRAM                     Case No: 1:23-md-3062-TDS-JEP
ANTITRUST LITIGATION




       JOINT STATUS REPORT REGARDING DISCOVERY DISPUTES

      Pursuant to the Court’s March 17, 2025 minute order and January 23, 2025 motion

hearing, Syngenta Crop Protection AG, Syngenta Corporation, and Syngenta Crop

Protection, LLC (collectively, “Syngenta”), Corteva, Inc. (“Corteva,” and, together with




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Syngenta, “Defendants”), the Plaintiffs in 1:22-cv-00828-TDS-JEP (“Government

Plaintiffs”), the Plaintiffs in 1:23-md-3062-TDS-JEP (“MDL Plaintiffs”) (together with

Government Plaintiffs and Defendants, the “Parties”), and Atticus LLC (“Atticus”) hereby

submit this Joint Status Report regarding the status of disputes concerning document

discovery.

        The Parties and Atticus do not believe that there are any discovery disputes presently

ripe to raise with the Court and believe that the April 4, 2025 status conference should be

cancelled.

                                     DISPUTES AS TO ATTICUS

        A. Joint Statement of the Parties and Atticus

        The Parties and Atticus do not believe there are any discovery disputes presently

ripe to raise with the Court as to Atticus. Syngenta and Government Plaintiffs filed motions

to compel discovery from Atticus (Dkt. 166, 280 (1:22-cv-00828-TDS-JEP); Dkt. 265

(1:23-md-3062-TDS-JEP)). This Court addressed the motions to compel on January 23,

2025. The Parties have reached separate agreements with Atticus on the scope of Atticus’s

document discovery. 1 On March 7, 2025, and March 11, 2025, Government Plaintiffs and

Syngenta respectively withdrew their motions to compel based upon those agreements

(Dkt. 310, 311 (1:22-cv-00828-TDS-JEP); Dkt. 223 (1:23-md-3062-TDS-JEP)). Based on




1 Although Corteva did not file a motion to compel against Atticus, it participated in the Court-ordered meet and

confers regarding the scope of Defendants’ subpoenas and together with Syngenta, negotiated the parameters for
Atticus’s response. Therefore, while Corteva did not previously engage in motions practice, it reserves the right to
seek relief should Atticus’ production not comply with the agreed-upon parameters.




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representations from Atticus’s counsel, the Parties believe that Atticus has now

satisfactorily complied with the respective agreements reached. On March 28, 2025,

Atticus made a document production that Atticus represented reflects substantially

complete production of the agreed-upon document production scope. To the extent that

Atticus’s March 28, 2025 document production does not satisfy Atticus’s obligations under

its respective agreements with the Parties or is otherwise deficient (e.g., contains technical

defects) based upon the Parties’ further review, the Parties reserve the right to request that

Atticus promptly supplement its document production accordingly and/or to seek further

relief from this Court. Counsel for Atticus has indicated that Atticus will continue to work

in good faith with the Parties to address any further issues that may arise regarding its

production.

       B. Atticus Reservation of Rights

       As explained in its letters accompanying the document production on March 28,

2025, Atticus reserves its rights under each applicable Protective Order to (1) clawback

any inadvertently produced privileged material, and (2) receive advance notice of the

Parties’ intent to use Atticus’s documents or information in any hearing or pre-trial

proceeding. See Dkt. No. 202, §§ 8(d), 17 (1:22-cv-00828-TDS-JEP); Dkt. No. 165, §§

8(d), 14 (1:23-md-3062-TDS-JEP). Atticus also reserves the right to provide replacement

documents that redact plainly non-responsive information in Atticus’s production. Atticus

has also requested that the Parties provide Atticus with same-day notice when any Atticus

documents or information are filed with the Court and that the Government Plaintiffs do




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not disclose Atticus’s documents and information to any “law clerks” or “interns” as

presently contemplated by the definition of “Enforcement Personnel.” See Dkt. No. 202,

§ 1(g) (1:22-cv-00828-TDS-JEP). Atticus reserves its right to seek a modification of the

Protective Order, if necessary.

       Additionally, Atticus reserves its right to seek reimbursement from the Parties for

its significant costs and expenses incurred in responding to the multiple subpoenas,

pursuant to Federal Rule of Civil Procedure 45(d)(2)(B)(ii). See, e.g., Dkt. No. 270, at 16-

17 (1:22-cv-00828-TDS-JEP); Dkt. No. 292, at 20-21 (1:22-cv-00828-TDS-JEP); Dkt. No.

296, 113:14–21 (1:22-cv-00828-TDS-JEP); Dkt. No. 171, at 16-17 (1:23-md-3062-TDS-

JEP); Dkt. No. 214, 113:14–21 (1:23-md-3062-TDS-JEP).

                        DISPUTES AS TO PARTY DISCOVERY

       The Parties do not believe there are any party discovery disputes presently ripe to

raise with the Court.

       Government and MDL Plaintiffs are in the process of analyzing and reviewing

Defendants’ document productions and responses to Plaintiffs’ written discovery requests,

and intend to meet and confer with Defendants concerning any deficiencies with respect

thereto in the near future. As such, there are no discovery disputes presently ripe to raise

with the Court.

       Defendants do not believe there are any party discovery disputes presently ripe to

raise with the Court.




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This, the 31st day of March, 2025      Respectfully submitted,

                                       /s/Patrick M. Kane
                                       Patrick M. Kane
                                       N.C. Bar No. 36861
                                       pkane@foxrothschild.com
                                       Sean T. Placey
                                       N.C. Bar No. 56683
                                       splacey@foxrothschild.com
                                       FOX ROTHSCHILD LLP
                                       230 N. Elm Street, Suite 1200
                                       PO Box 21927 (27420)
                                       Greensboro, NC 27401
                                       Telephone: 336.378.5200
                                       Facsimile: 336.378.5400

                                       Charles S. Duggan*
                                       charles.duggan@davispolk.com
                                       James I. McClammy*
                                       james.mcclammy@davispolk.com
                                       Daniel J. Thomson*
                                       daniel.thomson@davispolk.com
                                       DAVIS POLK & WARDWELL LLP
                                       450 Lexington Avenue
                                       New York, New York 10017
                                       Telephone: 212.450.4292
                                       Facsimile: 212.701.5292

                                       Benjamin M. Miller*
                                       benjamin.miller@davispolk.com
                                       1050 17th Street, NW
                                       Washington, DC 20036
                                       DAVIS POLK & WARDWELL LLP
                                       Telephone: 202.962.7133
                                       Facsimile: 202.962.7196

                                       *Specially appearing under Local Rule
                                       83.1(e)

                                       Attorneys for Syngenta Crop
                                       Protection AG, Syngenta Corporation,
                                       and Syngenta Crop Protection, LLC.




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/s/ David R. Marriott
David R. Marriott
dmarriott@cravath.com
Margaret T. Segall**
msegall@cravath.com
Jesse M. Weiss**
jweiss@cravath.com
CRAVATH, SWAINE & MOORE LLP
375 Ninth Avenue New York, NY 10019
Telephone: (212) 474-1000
Facsimile: (212) 474-3700

** Specially appearing under L.R. 83.1(d)

Attorneys for Corteva, Inc.


/s/ Michael J. Turner
MICHAEL J. TURNER
Attorney
Federal Trade Commission
Bureau of Competition
600 Pennsylvania Avenue, NW
Washington, DC 20580
Telephone: (202) 326-3649
Email: mturner@ftc.gov

JOSEPH R. BAKER
ROBERT Y. CHEN
ALLYSON M. MALTAS
KRISTEN VAN TINE

Attorneys for Plaintiff Federal Trade Commission




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/s/ Nicole S. Gordon                       /s/Aric J. Smith
NICOLE S. GORDON                           ARIC J. SMITH
Deputy Attorney General                    CONOR J. MAY
Office of the California Attorney General Assistant Attorneys General
455 Golden Gate Avenue, Suite 11000 Colorado Department of Law
San Francisco, CA 94610                    Office of the Attorney General
Telephone: (415) 510-4400                  Ralph L. Carr Judicial Center
Email: nicole.gordon@doj.ca.gov            1300 Broadway, 9th Floor
                                           Denver, CO 80203
Attorney for Plaintiff State of California Telephone: (720) 508-6000
                                           Email: Aric.Smith@coag.gov
                                                  Conor.May@coag.gov
/s/Paul J. Harper
PAUL J. HARPER                             Attorneys for Plaintiff State of Colorado
Assistant Attorney General, Antitrust
Office of the Illinois Attorney General
115 S. LaSalle Street                      /s/Christi Foust
Chicago, IL 60603                          CHRISTI FOUST
Telephone: (312) 814-3000                  JESSE MOORE
Email: paul.harper@ilag.gov                Deputy Attorneys General
                                           SCOTT BARNHART
Attorney for Plaintiff State of Illinois   Chief Counsel and Director of Consumer Protection
                                           Office of the Indiana Attorney General
                                           Indiana Government Center South – 5th Fl.
/s/Noah Goerlitz                           302 W. Washington Street
NOAH GOERLITZ                              Indianapolis, IN 46204-2770
Assistant Attorney General                 Telephone: (317) 233-9923
Office of the Iowa Attorney General        Email: christi.foust@atg.in.gov
1305 E. Walnut St.                                 jesse.moore@atg.in.gov
Des Moines, IA 50319                              scott.barnhart@atg.in.gov
Telephone: (515) 725-1018
Email: noah.goerlitz@ag.iowa.gov           Attorneys for Plaintiff State of Indiana

Attorney for Plaintiff State of Iowa




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/s/Justin McCully                          /s/Katherine Moerke
JUSTIN MCCULLY                             KATHERINE MOERKE
Office of the Attorney General of          JASON PLEGGENKUHLE
Nebraska                                   ELIZABETH ODETTE
2115 State Capitol Building                Assistant Attorneys General
Lincoln, NE 68509                          Office of the Minnesota Attorney General
Telephone: (402) 471-9305                  445 Minnesota Street, Suite 1200
Email: Justin.McCully@nebraska.gov         St. Paul, MN 55101-2130
                                           Telephone: (651) 296-3353
Attorneys for Plaintiff State of Nebraska Email: katherine.moerke@ag.state.mn.us
                                                  jason.pleggenkuhle@ag.state.mn.us
                                                  elizabeth.odette@ag.state.mn.us
/s/ Hamilton Millwee
HAMILTON MILLWEE                           Attorneys for Plaintiff State of Minnesota
Assistant Attorney General
Office of the Attorney General of
Tennessee                                  /s/Timothy D. Smith
P.O. Box 20207                             TIMOTHY D. SMITH
Nashville, TN 37202                        Attorney-in-Charge
Telephone: (615) 291-5922                  Antitrust, False Claims, & Privacy Section
Email: Hamilton.Millwee@ag.tn.gov          Oregon Department of Justice
                                           100 SW Market St
Attorneys for Plaintiff State of Tennessee Portland, OR 97201
                                           Telephone: (503) 798-3297
                                           Email: tim.smith@doj.oregon.gov
/s/Luminita Nodit
LUMINITA NODIT                             Attorney for Plaintiff State of Oregon
Assistant Attorney General,
Antitrust Division
Washington State Office
of the Attorney General
800 Fifth Ave., Suite 2000
Seattle, WA 98104
Telephone: (206) 254-0568
Email: Lumi.Nodit@atg.wa.gov

Attorney for Plaintiff State
of Washington




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/s/Caitlin M. Madden                       /s/William Shieber
CAITLIN M. MADDEN                          Austin Kinghorn
LAURA E. MCFARLANE                         Deputy Attorney General for Civil Litigation
Assistant Attorneys General                WILLIAM SHIEBER
Wisconsin Department of Justice            Senior Staff Attorney, Antitrust Division
Post Office Box 7857                       PAIGE ETHERINGTON
Madison, WI 53707-7857                     Assistant Attorney General
Telephone: (608) 267-1311                  Office of the Attorney General of Texas
Email: maddencm@doj.state.wi.us            300 West 15th Street, 7th Floor
                                           Austin, TX 78701
Attorneys for Plaintiff State of Wisconsin Telephone: (512) 463-1710
                                           Email: William.Shieber@oag.texas.gov

                                          Attorneys for Plaintiff State of Texas




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/s/ Robert Morris
Robert J. Morris
N.C. State Bar No. 15981
jmorris@smithlaw.com
Smith, Anderson, Blount, Dorsett, Mitchell & Jernigan, LLP
150 Fayetteville Street, Suite 2300
Raleigh, NC 27601
Telephone: (919) 821-1220

Matthew J. Dowd*
mdowd@dowdscheffel.com
Robert J. Scheffel*
rscheffel@dowdscheffel.com
Elliot A. Gee*
egee@dowdscheffel.com
Dowd Scheffel PLLC
1717 Pennsylvania Avenue, NW
Washington, D.C. 20006
Telephone: (202) 559-9175

*Specially appearing under Local Rule 83.1(e)

Attorney for Non-Party Atticus LLC




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